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 2
     San Diego, CA 92104
 3   Telephone: 800-673-4384
     Email: OBEY.TCPA@GMAIL.COM
 4
 5   Plaintiff, Pro Se
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 7
 8
                               UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
11
     THANE CHARMAN, individual                  Civil Case No.: 3:23-cv-00959-BAS-
12
                         Plaintiff,             KSC
13
     v.
14
                                                PLAINTIFF’S RESPONSE IN
     DESERT LAKE GROUP, LLC,d/b/a
15
     FIRST CLASS HERBTINCTURE, d/b/a            OPPOSITION TO DEFENDANTS’S
16   FIRST CLASSHERBALISTCBD, d/b/a
                                                MOTION TO DISMISS PLAINTIFF’S
     FIRSTCLASSHERBALIST OILS, d/b/a
17
     USAHERBALIST OILS,. BENSON                 AMENDED COMPLAINT
18   CHRISTOPHER HUNTER, an individual.
     CHRIS TIRRELL ARMSTRONG, an
19
     individual. DARIN EDWARD TOONE,
20   an individual. JARED C FORBUSH, an
     individual. JONATHAN KENTVIRGIN,
21
     an individual. NICHOLAS
22   ANTHONYARMSTONG, an individual.
     NICHOLAS LANE JESSEN, an
23
     individual. RYAN DEAN HOGGAN, an
24   individual
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                     Defendants,
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28
            OPPOSITION TO MOTION TO DISMISS AMENDED COMPLAINT
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 1    PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
 2                   DISMISS PLAINTIFF’S AMENDED COMPLAINT
 3
 4
 5         COMES NOW Plaintiff Thane Charman with his response to Defendants’ Motion
 6
     to Dismiss Plaintiff’s Second Amended Complaint (“SAC”), and will allege and show as
 7
     follows:
 8
 9         I.    Introduction
10         This case comes about because Defendants sent unauthorized telemarketing text
11
     messages to Plaintiff in violation of the Telephone Consumer Protection Act (“TCPA”).
12
13   Defendant Desert Lake Group LLC (“Desert Lake”) filed for bankruptcy in 2020.

14   Plaintiff has released all Defendants except Chris Tirrell Armstrong (“Armstrong”).
15
     Plaintiff will not address the portions of Defendants’ Motion To Dismiss that pertain to
16
17   Desert Lake because Desert Lake has been dismissed as a Defendant.

18         II.   Factual Background
19         Plaintiff filed his initial complaint alleging violations of the TCPA on May
20
     25, 2023. ECF 1. Defendants. Plaintiff filed an Amended Complaint on October 16,
21
22   2023. ECF 6. Defendant Armstrong was served with the Summons and Complaint on

23   November 29, 2023. ECF 9. The other Defendants were served with the Complaint on
24
     various days and have all been dismissed. ECF 19, 51-52. Defendant Armstrong filed a
25
26   Motion to Dismiss on June 11, 2024.

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           OPPOSITION TO MOTION TO DISMISS AMENDED COMPLAINT
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 1         III.   Arguments
 2
 3                A. CORPORATE OFFICERS CAN BE HELD PERSONALLY
                     LIABLE FOR TCPA VIOLATIONS
 4
           Plaintiff’s allegations, taken as true, are enough to establish that Defendant
 5
 6   Armstrong can be held personally liable for the phone calls alleged herein. Under the

 7   TCPA, an individual acting on behalf of a corporation may be held personally liable
 8
     under the TCPA when they directly participated in or personally authorized the violative
 9
10   conduct. See City Select Auto Sales Inc. v. David Randall Assocs., Inc., 885 F.3d 154, 161

11   (3rd Cir. 2018); Bais Yaakov of Spring Valley v. Graduation Source, LLC, No. 14-CV-
12
     3232 (NSR), 2016 WL 1271693, at *5 (S.D.N.Y. Mar. 29, 2016); Sandusky Wellness
13
14   Ctr., LLC v. Wagner Wellness, Inc., No. 3:12 CV 2257, 2014 WL 1333472, at *3 (N.D.

15   Ohio Mar. 28, 2014); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 416 (D.Md.
16
     2011)(reasoning that “if an individual acting on behalf of a corporation could avoid
17
18   individual liability, the TCPA would lose much of its force”); Baltimore-Washington Tel.

19   Co. v. Hot Leads Co., LLC, 584 F. Supp. 2d 736, 745 (D. Md. 2008).
20
           This principle was further illustrated when the Court ruled, “Individuals acting on
21
22   behalf of a corporation may be held personally liable for violations of the TCPA if they

23   ‘“had direct, personal participation in or personally authorized the conduct found to have
24
     violated the statute.”’ Texas v. Am. Blastfax, Inc., 164 F.Supp.2d 892, 898 (W.D.Tex.
25
26   2001)(“[A]n officer may be personally liable under the TCPA if he had direct, personal
27   participation in or personally authorized the conduct found to have violated the statute,
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 1   and was not merely tangentially involved. Individuals who directly (and here, knowingly
 2
     and willfully) violate the TCPA should not escape liability solely because they are
 3
     corporate officers.”).
 4
 5                B. PLAINTIFF HAS ALLEGED FACTS SUFFICIENT TO SHOW
 6                   ARMSTONG IS PERSONALLY LIABLE

 7         Plaintiff’s allegations, taken as true, are enough to establish that Armstrong

 8   personally participated in the conduct alleged in Plaintiff’s Second Amended Complaint
 9
     and can be held personally liable. Defendant Armstrong is personally liable under the
10
11   “participation theory” of liability because he had direct and personal participation in the

12   conduct that violated the TCPA or knowingly authorized such conduct. See, e.g.,
13
     Physicians Healthsource, Inc. v. Doctor Diabetic Supply, LLC, No. 12- 22330-CIV, 2015
14
15   WL 3644598, at *3 (S.D. Fla. June 10, 2015).

16         Defendant Armstong was in charge of the marketing. SAC ¶ 42. Armstong directed
17
     the text messages to be placed into California. SAC ¶ 8, 45. Armstrong purposefully
18
19   directed California to be targeted with solicitation phone calls. SAC ¶ 9. The text

20   messages were placed to Plaintiff’s 619 California area code phone number at the
21
     direction of Marketing Manager Armstrong. SAC 10(b), 40, 42. Armstong personally
22
23   participated in, had personal knowledge of, and directed the activities to include the

24   marketing of Desert Lake Group via text messages sent to California area codes that
25
     violated the TCPA. SAC 44.
26
27
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 1         Defendant Armstrong participated in the sending of the text messages in a material
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     way that goes far beyond circumstance. Armstong personally directed the text messages
 3
     to be sent, and he did so knowing that they were being sent into California. There was
 4
 5   material participation by Armstrong, and he can be held personally liable for the text
 6
     messages.
 7
                  C. CONCLUSION
 8
 9         Plaintiff has demonstrated that Defendant Armstrong can be held personally liable
10
     for the text messages alleged in Plaintiff’s Second Amended Complaint. Furthermore,
11
     Defendant Armstrong was not a party to the bankruptcy and his potential liability was not
12
13   discharged when Desert Lake filed bankruptcy.
14
           For the reasons discussed above, Plaintiff respectfully requests that the Court
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     deny Defendant Armstrong’s Motion to Dismiss in its entirety. Alternatively, should the
16
17   Court decide sufficient facts have not been alleged by Plaintiff, Plaintiff respectfully
18
     requests that limited Discovery be granted in order to determine the specific role(s)
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     played by Defendant Armstrong with respect to the text messages received by Plaintiff.
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 1               Dated: June 24, 2024        respectfully submitted,
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 3
                                           By: /S/ Thane Charman
 4
                                             Thane Charman
 5                                           Pro Se
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           OPPOSITION TO MOTION TO DISMISS AMENDED COMPLAINT
